                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

APRIL GILMORE-LEE,                                    )
                                                      )
               Plaintiff,                             )
                                                      )
V.                                                    ) Case No.
                                                      )
SONNY PERDUE, Secretary                               )
UNITED STATES DEPARTMENT OF                           )
AGRICULTURE, RMA,                                     )
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
               Defendants.                            )

                             COMPLAINT AND JURY DEMAND

       COMES NOW Plaintiff, April Gilmore-Lee, by and through her undersigned counsel, and

files this Complaint for damages for her causes of action against Defendants the United States

Department of Agriculture, Risk Management Agency (hereafter “USDA”). Plaintiff alleges as

follows:

                                JURISDICTION AND VENUE

               This action is authorized and instituted pursuant to Title VII of the Civil Rights Act

of 1964 (“Title VII”), 42 U.S.C. §§ 2000e et seq., the Rehabilitation Act of 1973 (“Rehabilitation

Act”), 29 U.S.C. §794, and Title I of the Americans with Disabilities Act of 1990 (“ADA”),

42 U.S.C. § 12101.

               As this Complaint asserts federal causes of action arising under the laws of the

United States, jurisdiction is appropriate pursuant to 28 U.S.C. § 1331.

               Plaintiff is employed by the Defendant in Kansas City, Missouri. Pursuant to

28 U.S.C. § 139, venue properly lies in this judicial district in that the alleged unlawful

employment practices were committed within the jurisdiction of the United States District Court



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for the Western District of Missouri, specifically in Kansas City, Missouri, and the Defendant is a

government employer who is subject to the jurisdiction of this Court.

                                             PARTIES

               Plaintiff, April Alicia-Dean Gilmore-Lee is a United States citizen. She resides in

Lee’s Summit, Missouri.

               Plaintiff is a black female who has participated in protected activity. She has been

diagnosed with Attention Deficit Disorder (hereafter “ADD”) and she is the primary caregiver to

one child who has been diagnosed with Attention Deficit Hyperactivity Disorder (hereafter

“ADHD”) and high-functioning autism.

               Defendant Perdue, in his capacity as Secretary of the USDA, is located in

Washington, D.C.

               The United States of America and its Agency, USDA Risk Management Agency,

is located at 6501 Beacon Drive, Kansas City, Missouri.

                               ADMINISTRATIVE PROCEDURES

               After initiating an informal administrative complaint on January 10, 2017, Plaintiff

timely filed an initial informal Complaint of Discrimination against the Defendant with the USDA

Risk Management Agency’s Office of Civil Rights on January 17, 2017. That administrative

Complaint of Discrimination was assigned Case No. RMA-2017-00346. It was amended on

August 29, 2017.

               Plaintiff’s administrative Complaints of Discrimination alleged that she was

discriminated against on the basis of her race, color, disability and reprisal and retaliation because

of prior protected activity.

               Plaintiff has exhausted all administrative remedies in that on February 27, 2020,

Defendant issued its Final Agency Decision on Plaintiff’s claims.

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                Plaintiff timely filed this lawsuit within 90 days of the receipt of the Final Agency

Decision.

                All of Plaintiff’s claims alleged in this Complaint were considered during the

administrative investigation of her administrative Complaints of Discrimination and they

reasonably followed from the allegations contained in the administrative complaints of

discrimination, reprisal, and retaliation.

                Pursuant to 42 U.S.C. § 2000e-16(c), Plaintiff therefore invokes her right to bring

this civil action in that she has satisfied all administrative and judicial prerequisites to the

institution of this action.

                        ALLEGATIONS COMMON TO ALL COUNTS

                Plaintiff is an African-American female with a dark brown skin hue. She is 5 feet

and 10 inches tall.

                At all times relevant to this Complaint, she has worn her naturally curly, dark brown

hair in an afro or various braided hairstyle.

                At all times relevant to this Complaint, Plaintiff has suffered from ADD. This

condition is a physical and mental impairment that affects multiple of the Plaintiff’s major life

activities, including sleeping, concentrating, thinking, communicating, and working.           When

subjected to stressors, Plaintiff’s mental impairment causes significant diminution in the Plaintiff’s

ability to think, concentrate, and focus.

                Plaintiff is the primary caregiver to one male child, age 12.

                At all times relevant to this Complaint, her son has suffered from ADHD and high-

functioning autism. These conditions are physical and mental impairments that affect multiple of

his major life activities, including sleeping, concentrating, thinking, communicating, and working.



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                At all times relevant to this Complaint, the Plaintiff was able to perform the

essential functions of her job without reasonable accommodation.

                Plaintiff has worked for the USDA for over fourteen years. She is now a Lead

Legal Administrative Specialist, GS-14. This position is based in Washington, DC; however, she

works out of Kansas City, Missouri. This position requires frequent travel throughout the United

States.

                Plaintiff began her employment with the USDA in October 2006 and from that

time, until January 2017, as a Risk Management Specialist, GS-1101-13 with RMA’s Office of

Product Management, Policy Administration, and Standards Division (“PASD”), Underwriting

Standards Branch (“USB”). As a Risk Management Specialist, Plaintiff’s duties included review,

analysis, and drafting of USDA policies, procedures, and practices, as well as regulations,

legislation, and laws affecting USDA’s clients and stakeholders of the Federal Crop Insurance

Program.

                Plaintiff has experienced discrimination continuously throughout her tenure as a

Risk Management Specialist.

                In November 2016, Plaintiff interviewed for and was not selected for the merit

promotion to GS-01801-14, Chief, Policy Administration Branch, Product Management

Procurement position, as advertised under Vacancy Announcement Number RMA-17-0006-

RMA-TJ.

                Subsequent to the initial announcement, Plaintiff became the victim of harassment.

When she filed her EEO complaint, she became the victim of reprisal and retaliation. The first act

of retaliation occurred when Plaintiff’s confidential informal complaint was released to the agency

at large.



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               Plaintiff possesses a Juris Doctorate degree, having graduated from law school in

2013.

               Plaintiff’s work in PASD directly supported the Policy Administration Branch for

which she applied to be Branch Chief.

               Plaintiff completed the Leadership Development Training Program provided by the

USDA to assist employees in learning the skills required to be leaders within RMA.

               Plaintiff was responsible for developing relationships, procedural processes,

training, and providing presentations to large audiences about the crop insurance policies for which

the Policy Administration Branch was responsible.

               Plaintiff also served as the Agency’s expert witness for the Federal Crop Insurance

Program and is an Expert Level Regulatory writer for the program.

               Plaintiff scored 17 points higher on the interview than the selectee.

               The selectee was Chandra Mason, a petite, blonde, Caucasian female.

               Ms. Mason, at the time of the September 9, 2016 vacancy announcement, had been

with the Agency for approximately two years.

               Ms. Mason began working for RMA on September 21, 2014, as an Agricultural

Economist, GS-0110-12, with the Actuarial and Product Design Division subject to a one-year

probationary period.

               On September 21, 2015, Ms. Mason was promoted to a GS-13, step 6.

               On September 14, 2016, Ms. Mason was awarded a Quality Step Increase

promotion to a GS-13, step 7.

               On September 14, 2016, Ms. Mason achieved the requisite time in grade to be

eligible for promotion.



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               Ms. Mason did not have commensurate education or skills related to the Product

Administration Branch. She had not previously held a supervisory position either in the public or

private sector; she does not have the same educational background as she has a Master’s degree;

she did not have commensurate practical experience as Plaintiff in policy and regulatory writing;

she did not score as highly on the interview as Plaintiff; and she had not completed the RMA’s

Leadership Development Training Program at the time of the selection.

               At the time of the selection, the female Branch chiefs were all petite, Caucasian

women with blonde or light brown hair.

               Plaintiff believes only two African-American females had been chosen as Branch

Chief in the Office of Product Management for as long as Plaintiff can remember. A petite, light-

skinned black, one Branch Chief held the position for only approximately a year and then was

moved into a division in which there had been no African-Americans and no females as Branch

Chiefs. She no longer holds a supervisory position. The other, also a petite, light-skinned African-

American female, held the position for one year and no longer works for the Federal government.

There have been no African-American males hired as Branch Chiefs or promoted to GS-14 in the

Office of Product Management for as long as the Plaintiff can remember.

               The Agency engages in “tokenism,” choosing token females or African-Americans

to fill positions while the vast majority of those in leadership positions are white males.

               Tim Hoffmann, Plaintiff’s second line supervisor, is a white male whose selections

have routinely been white males.

               There are no larger, taller black females in these positions in the Agency in Kansas

City.




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               Plaintiff has observed that the management officials in the Agency treat men and

Caucasians differently from African-American females.

               Plaintiff has also been diagnosed with ADHD. During the application process, she

was specifically asked about her disability and her ability to care for her son even though she

always received high marks in her evaluations and had requested no accommodations for her

ADHD.

               Plaintiff sought clarification of the reasons for her non-selection from the hiring

official but received no objective information explaining the non-selection.

               After Plaintiff sought clarification of the reasons behind her non-selection and

approached an EEO investigator about her complaints, Ms. Lee became the subject of ongoing

harassment and reprisal.

               Following her objection to non-selection and her reaching out to an EEO counselor,

her supervisors began to nitpick her work. They even carried it to other individuals in the Agency

to attempt to get negative commentary on her performance.

               Her supervisors began taking work from her and giving it to other individuals.

               Her direct supervisor began undermining her work so that she could not be

successful.

               Although she worked on confidential and high-profile matters and held a position

for which others were given private offices, she was moved to a back corner of the building with

the support personnel.

               Plaintiff took a position based in Washington, D.C. for which she largely

teleworked from Kansas City.




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               Rodger Matthews specifically attempted on more than one occasion to undermine

Plaintiff’s relationship with her new managers by making allegations about her and her work that

were untrue.

               When Plaintiff began to travel as part of her position, Mr. Matthews started

watching her time and attendance closely. He tried to “tattle” about Plaintiff’s comings and goings

to her supervisor in Washington, D.C. despite the fact that he had no supervisory authority over

her after she took the new position.

               Plaintiff was kicked out of systems, taken off meetings and roles she had not yet

transitioned; she was not able to get a backup for the subject matter she worked; her backup was

taken off her work.

               Those who supported Plaintiff, including her backup and her supervisor, were

harassed for supporting Plaintiff.

               Because of the harassment that Plaintiff was getting and the “tattling” that Rodger

Matthews attempted with Plaintiff’s Washington D.C. supervisor, the D.C. work group decided to

make Plaintiff a “remote employee” enabling her to work from home.

               Plaintiff removed her equipment to begin full-time telework.

               Matthews objected to Plaintiff being able to work from home and required Plaintiff

to maintain an office at the Kansas City facility. This caused the Plaintiff to have to return all the

removed equipment to the office where she was embarrassed because she was asked by numerous

employees “what happened.”

               When Plaintiff was traveling or on vacation, Matthews sent her supervisor pictures

showing Plaintiff was not at her desk. Someone put a sign up on her desk that said, “at home




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teleworking.” As Matthews had a policy against telework, the sign was made to engender jealousy

and disrespect of Plaintiff.

               Plaintiff was subjected to ongoing harassment and discrimination by Rodger

Matthews and others until his retirement.

               Plaintiff filed complaints of harassment, discrimination and reprisal. The Agency

accepted for investigation the following issues:

               a.      Whether Aggrieved Party (AP) was subjected to discrimination on the bases

       of her Race (African-American), Color (Black), sex (female), and Mental Disability

       (ADHD) when she was not selected for Chief, Policy Administration Branch, Product

       Management GS-1801-14, vacancy announcement number RMA-17-0006-RMA-TJ.

               b.      Since December 1, 2016, management subjected her to undefined acts of

       harassment resulting from her non-selection.

               As a direct and proximate result of the conduct of Defendants and the conduct of

the supervisors and managers, Plaintiff suffered grievous injury and damage, including but not

limited to past, present, and future lost wages, benefits, earnings and earning capacity, mental

anguish, pain, humiliation, embarrassment, depression, anxiety, anger, physical manifestations of

emotional distress and physical injury, and lost enjoyment of life.

             COUNT 1: RACE DISCRIMINATION AND SEX DISCRIMINATION
                            DISPARATE TREATMENT

               Plaintiff hereby incorporates by this reference each and every allegation found in

paragraphs 1–62.

               Plaintiff, a black female, is a member of a protected class.

               She was qualified for the position she held at the USDA and met her employer’s

legitimate performance expectations.


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       Plaintiff suffered adverse job actions when management:

       a.      Failed to promote Plaintiff to the position of Chief, Policy Administration

Branch, Product Management GS-1801-14, vacancy announcement number RMA-17-

0006-RMA-TJ;

       b.      Began taking work from her and giving it to other individuals;

       c.      began undermining her work so that she could not be successful;

       d.      moved her desk to a back corner of the building with the support personnel,

although she worked on confidential and high-profile matters and held a position for which

others were given private offices;

       e.      Rodger Matthews specifically attempted on more than one occasion to

undermine Plaintiff’s relationship with her new managers by making allegations about her

and her work that were untrue;

       f.      Mr. Matthews started watching her time and attendance closely despite

knowing she was traveling as part of her position, and he tried to “tattle” about Plaintiff’s

comings and goings to her supervisor in Washington, D.C.

       g.      kicked Plaintiff out of systems, took her off meetings and roles she had not

yet transitioned; would not allow her to get a backup for the subject matter she worked;

took her backup off her work.

       h.      harassed other employees, including Pam Bollinger, her immediate

supervisor and her backup for supporting Plaintiff;

       i.      interfered with Plaintiff’s status as a “remote employee” and required her to

man a desk in Kansas City despite her workstation being in Washington, D.C.;




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               j.      Matthews sent Plaintiff’s DC supervisor pictures showing Plaintiff was not

       at her desk at times he knew Plaintiff was either on approved vacation or traveling for her

       position;

               k.      allowed an unknown person to put a sign on her desk that said, “at home

       teleworking.” As Matthews had a policy against telework, the sign was made to engender

       jealousy and disrespect of Plaintiff;

               l.      other events as set forth in the Statement of Facts.

               The Agency and Management Officials treated similarly situated Caucasian

employees more favorably than Plaintiff.

               The Agency and Management had a pattern or practice of elevating only one female

at a time for leadership roles but only those who were cute, Caucasian, and blonde.

               As a direct and proximate result of the conduct of Defendants and the conduct of

the supervisors and managers, Plaintiff suffered grievous injury and damage, including but not

limited to past, present, and future lost wages, benefits, earnings and earning capacity, mental

anguish, pain, humiliation, embarrassment, depression, anxiety, anger, physical manifestations of

emotional distress and physical injury, and lost enjoyment of life.

                    COUNT 2: DISCRIMINATION BASED UPON DISABILITY
                               OR PERCEIVED DISABILITY

               Plaintiff hereby incorporates by this reference each and every allegation found in

paragraphs 1–69.

               Plaintiff, a female diagnosed with ADHD, is a member of a protected class.

               Defendants knew of Plaintiff’s diagnosis as she told them once she received it.




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               Plaintiff neither asked for nor required an accommodation for her ADHD. Despite

that, Defendants specifically inquired into it during the application process for the Chief, Policy

Administration Branch, Product Management GS-1801-14.

               After Plaintiff received substantially higher marks than the selectee, she sought

information regarding her non-selection and was given information indicating that her perceived

disability motivated or contributed to the non-selection.

               She was qualified for the position she held at the USDA and met her employer’s

legitimate performance expectations.

               Plaintiff suffered adverse job actions when management:

               a.      Failed to promote Plaintiff to the position of Chief, Policy Administration

       Branch, Product Management GS-1801-14, vacancy announcement number RMA-17-

       0006-RMA-TJ;

               b.      began taking work from her and giving it to other individuals;

               c.      began undermining her work so that she could not be successful;

               d.      moved her desk to a back corner of the building with the support personnel,

       although she worked on confidential and high-profile matters and held a position for which

       others were given private offices;

               e.      Rodger Matthews specifically attempted on more than one occasion to

       undermine Plaintiff’s relationship with her new managers by making allegations about her

       and her work that were untrue;

               f.      Mr. Matthews started watching her time and attendance closely despite

       knowing she was traveling as part of her position, and he tried to “tattle” about Plaintiff’s

       comings and goings to her supervisor in Washington, D.C.;



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               g.      kicked Plaintiff out of systems, took her off meetings and roles she had not

       yet transitioned; would not allow her to get a backup for the subject matter she worked;

       took her backup off her work.

               h.      Harassed other employees, including Pam Bollinger, her immediate

       supervisor and her backup for supporting Plaintiff;

               i.      Interfered with Plaintiff’s status as a “remote employee” and required her

       to man a desk in Kansas City despite her workstation being in Washington, D.C.;

               j.      Matthews sent Plaintiff’s DC supervisor pictures showing Plaintiff was not

       at her desk at times he knew Plaintiff was either on approved vacation or traveling for her

       position;

               k.      Allowed an unknown person to put a sign on her desk that said, “at home

       teleworking.” As Matthews had a policy against telework, the sign was made to engender

       jealousy and disrespect of Plaintiff;

               l.      Other events as set forth in the Statement of Facts.

               The Agency and Management Officials treated similarly situated employees more

favorably than Plaintiff.

               As a direct and proximate result of the conduct of Defendants and the conduct of

the supervisors and managers, Plaintiff suffered grievous injury and damage, including but not

limited to past, present, and future lost wages, benefits, earnings and earning capacity, mental

anguish, pain, humiliation, embarrassment, depression, anxiety, anger, physical manifestations of

emotional distress and physical injury, and lost enjoyment of life.




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                      COUNT 3: RACIALLY HOSTILE ENVIRONMENT
                                  ALL DEFENDANTS

               Plaintiff hereby incorporates by this reference each and every allegation found in

paragraphs 1–78.

               During the course of Plaintiff’s employment with the Defendant, Plaintiff

experienced a racially hostile environment in that:

               a.      Plaintiff was subjected to harassment;

               b.      The harassment was unwelcome;

               c.      The harassment was based upon Plaintiff’s race;

               d.      The harassment was sufficiently severe or pervasive that a reasonable

       person in Plaintiff’s position would find Plaintiff’s work environment to be hostile or

       abusive;

               e.      At the time the harassment occurred and as a result of it, Plaintiff believed

       the work environment to be hostile or abusive;

               f.      Defendants knew or should have known of the harassment; and

               g.      Defendants failed to take prompt, appropriate corrective action to end the

       harassment.

               As a direct and proximate result of the conduct of Defendants and the conduct of

the supervisors and managers, Plaintiff suffered grievous injury and damage, including but not

limited to past, present, and future lost wages, benefits, earnings and earning capacity, mental

anguish, pain, humiliation, embarrassment, depression, anxiety, anger, physical manifestations of

emotional distress and physical injury, and lost enjoyment of life.




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                     COUNT 4: HOSTILE ENVIRONMENT BASED ON SEX
                                   ALL DEFENDANTS

               Plaintiff hereby incorporates by this reference each and every allegation found in

paragraphs 1–81.

               During the course of Plaintiff’s employment with the Defendant, Plaintiff

experienced a hostile environment based on sex in that:

               a.      Plaintiff was subjected to harassment;

               b.      The harassment was unwelcome;

               c.      The harassment was based upon Plaintiff’s race;

               d.      The harassment was sufficiently severe or pervasive that a reasonable

       person in Plaintiff’s position would find Plaintiff’s work environment to be hostile or

       abusive;

               e.      At the time the harassment occurred and as a result of it, Plaintiff believed

       the work environment to be hostile or abusive;

               f.      Defendants knew or should have known of the harassment; and

               g.      Defendants failed to take prompt, appropriate corrective action to end the

       harassment.

               As a direct and proximate result of the conduct of Defendants and the conduct of

the supervisors and managers, Plaintiff suffered grievous injury and damage, including but not

limited to past, present, and future lost wages, benefits, earnings and earning capacity, mental

anguish, pain, humiliation, embarrassment, depression, anxiety, anger, physical manifestations of

emotional distress and physical injury, and lost enjoyment of life.




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                                   COUNT 5: RETALIATION
                                     ALL DEFENDANTS

               Plaintiff hereby incorporates by this reference each and every allegation found in

paragraphs 1–84.

               Plaintiff complained to Defendants her concerns that she was being discriminated

against directly and through her EEO informal counseling that occurred in January 2017 as well

as her later formal complaint.

               Plaintiff reasonably believed that Plaintiff was being harassed and/or discriminated

against on the basis of race and sex or age.

               Defendant engaged in adverse actions against the Plaintiff including that they:

               a.      began taking work from her and giving it to other individuals;

               b.      began undermining her work so that she could not be successful;

               c.      moved her desk to a back corner of the building with the support personnel,

       although she worked on confidential and high-profile matters and held a position for which

       others were given private offices;

               d.      Rodger Matthews specifically attempted on more than one occasion to

       undermine Plaintiff’s relationship with her new managers by making allegations about her

       and her work that were untrue;

               e.      Mr. Matthews started watching her time and attendance closely despite

       knowing she was traveling as part of her position, and he tried to “tattle” about Plaintiff’s

       comings and goings to her supervisor in Washington, D.C.;

               f.      kicked Plaintiff out of systems, took her off meetings and roles she had not

       yet transitioned; would not allow her to get a backup for the subject matter she worked;

       took her backup off her work;


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                g.      Harassed other employees, including Pam Bollinger, her immediate

        supervisor and her backup for supporting Plaintiff;

                h.      Interfered with Plaintiff’s status as a “remote employee” and requiring her

        to man a desk in Kansas City despite her workstation being in Washington, D.C.;

                i.      Matthews sent Plaintiff’s DC supervisor pictures showing Plaintiff was not

        at her desk at times he knew Plaintiff was either on approved vacation or traveling for her

        position;

                j.      Allowed an unknown person to put a sign on her desk that said, “at home

        teleworking.” As Matthews had a policy against telework, the sign was made to engender

        jealousy and disrespect of Plaintiff;

                k.      Other events as set forth in the Statement of Facts.

                Plaintiff’s complaints of racial and sex based harassment and/or discrimination

were contributing and/or motivating factors in the adverse actions taken against Plaintiff.

                As a direct and proximate result of the conduct of Defendants and the conduct of

the supervisors and managers, Plaintiff suffered grievous injury and damage, including but not

limited to past, present, and future lost wages, benefits, earnings and earning capacity, mental

anguish, pain, humiliation, embarrassment, depression, anxiety, anger, physical manifestations of

emotional distress and physical injury, and lost enjoyment of life.

        WHEREFORE, Plaintiff respectfully prays that this Court:

                Issue judgment against the Defendants for all the damages that Plaintiff has

incurred, including without limitation, physical and personal injury, emotional distress, back pay,

future pay, lost earnings, lost earning capacity, special damages, and all compensatory damages to

which the Plaintiff is entitled;



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                Issue judgment against the Defendants for equitable or injunctive relief;

                Issue judgment against the Defendants, or any Defendant, for punitive and/or

statutory damages to which the Plaintiff may be entitled due to the Defendants’ intentional

violation of the rights of the Plaintiff;

                Award Plaintiff her reasonable attorneys’ fees, costs, and expenses;

                Award to Plaintiff any and all such further relief as may be equitable and just.

                                              Respectfully submitted,


                                              /s/ Rebecca M. Randles
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                                              Attorney for Plaintiff




                                 DEMAND FOR TRIAL BY JURY

        Plaintiff hereby demands a trial by jury.




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